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     Case: 18-8004   Document: 00713167200      Filed: 02/22/2018  Pages: 2



       UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



  Everett McKinley Dirksen United States Courthouse                              Office of the Clerk
          Room 2722 - 219 S. Dearborn Street                                    Phone: (312) 435-5850
               Chicago, Illinois 60604                                          www.ca7.uscourts.gov




                                                        ORDER
   Submitted February 20, 2018
   Decided February 22, 2018
                                                         Before
                                            DIANE P. WOOD, Chief Judge
                                            WILLIAM J. BAUER, Circuit Judge
                                            ILANA DIAMOND ROVNER, Circuit Judge

                                           IN RE: RED BARN MOTORS, INC., et. al.,
   No. 18-8004
                                                      Petitioners

    Originating Case Information:

   District Court No: 1:14-cv-01589-TWP-DML
   Southern District of Indiana, Indianapolis Division
   District Judge Tanya Walton Pratt


   The following are before the court:

   1. PLAINTIFFS-PETITIONERS’ PETITION PURSUANT TO FED. R. CIV. P. 23(f)
   FOR PERMISSION TO APPEAL AN ORDER GRANTING DECERTIFICATION
   OF A CLASS, filed on January 23, 2018, by Attorney Kathleen A. DeLaney.

   2. OPPOSITION OF DEFENDANT-RESPONDENT TO PETITION FOR
   PERMISSION TO APPEAL UNDER RULE 23(f), filed on February 2, 2018, by
   Attorney Thomas M. Byrne.

   3. PETITIONERS’ CITATION OF ADDITIONAL AUTHORITY, PER CIRCUIT
   RULE 28(e), filed on February 12, 2018, by Attorney Kathleen A. DeLaney.

   4. RESPONDENT’S RESPONSE IN OPPOSITION TO PETITONERS’ CITATION
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   OF ADDITIONAL AUTHORITY, filed on February 13, 2018, by Attorney Thomas
   M. Byrne.

   IT IS ORDERED that the petition for permission to appeal pursuant to Federal Rule
   of Civil Procedure 23(f) is GRANTED. Petitioner shall pay the required appellate fees
   to the clerk of the district court within fourteen days from the entry of this order
   pursuant to Federal Rule of Appellate Procedure 5(d)(1). Once the district court
   notifies this court that the fees have been paid, the appeal will be entered on the
   court's general docket.




   form name: c7_Order_3J(form ID: 177)
